






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00525-CR







Rodney Dwayne Lewis, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 52,001, HONORABLE JOE CARROLL, JUDGE PRESIDING






PER CURIAM

Appellant's motion to dismiss this appeal is granted.  See Tex. R. App. P. 42.2(a). 
The appeal is dismissed.


Before Justices Kidd, Yeakel and Patterson

Dismissed on Appellant's Motion

Filed:   October 25, 2001

Do Not Publish


